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                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF ILLINOIS

UNITED STATES OF AMERICA,                           )
                                                    )
                Plaintiff,                          )
                                                    )
V.                                                  )            Case No. 10- cr-30053-01-MJR
                                                    )
JUDIOUS KIZEART,                                    )
                                                    )
                Defendant.                          )

                                                ORDER

REAGAN, District Judge:

                Before the Court is Defendant Judious Kizeart’s motion to dismiss the indictment

based on the “outrageous Government misconduct” doctrine (Doc. 145). The Government filed a

response in opposition to the motion (Doc. 160), and an evidentiary hearing was conducted April

1, 2011. For the reasons detailed below, Defendant Kizeart’s motion to dismiss (Doc. 145) is

DENIED.

                On March 18, 2010, Defendant Judious Kizeart, along with six others, was named

in a one-count indictment (Doc. 1) charging a conspiracy under 18 U.S.C. § 371 to commit dog

fighting, in violation of 7 U.S.C. § 2156(a)(1) (sponsoring or exhibiting an animal in a fighting

venture) and § 2156(b)1 (buying, selling, delivering, possessing, training or transporting an animal

for participation in a fight). Specific to Kizeart, it is alleged that:

                1.      On or about March 22, 2009, in East St. Louis, Kizeart was asked,


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         The indictment cites “2156(a)(2)(b),” rather than “2156(b).” Such typographical errors
in an indictment are generally deemed benign, not altering the substance of the charged offense.
See U.S. v. Willoughby, 27 F.3d 263, 266 (7th Cir. 1994); Russell v. United States, 369 U.S. 749,
770 (1962) (“mere matters of form” need not be resubmitted to the grand jury).

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                         and he agreed to handled a dog during a fight. Doc. 1, p. 4, ¶¶ 22-24.

               2.        On or about April 18, 2009, in East St. Louis, Kizeart was a spectator
                         and he placed bets on dog fights. Doc. 1, pp. 4-5, ¶¶ 26-27.


                Kizeart concedes that the Seventh Circuit does not recognize the doctrine. The

Government would have the Court adhere to Seventh Circuit precedent and reject the doctrine. In

the alternative, the Government asserts that its agents’ conduct was “rationally tailored to the needs

of the investigation.”

               The testimony presented establishes that Missouri Highway Patrol agents (at times

working in concert withe the FBI) and their confidential informants, trained fight dogs, promoted

and participated in dog fights, and observed a dog die– all as part of an undercover operation to

infiltrate the closed world of dog fighting. Historically, Missouri law enforcement had had little

success prosecuting dog fighters due to difficulty obtaining sufficient evidence of precisely how

dogs had been injured. According to an official with the Humane Society of St. Louis, Society

officials met with law enforcement and generally endorsed the Missouri Highway Patrol’s efforts

to infiltrate the closed and secretive dog fighting community, although the Society was unaware of

exactly how involved the Government agents would eventually become in the fights.2 The

investigation expanded from Missouri into the neighboring Southern District of Illinois, where



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         Government agents, and the confidential informants they worked with, did purchase
dogs from within the dog fighting community, but they did not obtain any dogs from the
Humane Society or any other outside source, such as a pet store; nor were stray dogs used by the
Government. Dogs that were rotated through the undercover operation’s “show” kennel were
turned over to the Humane Society. At times, the agents were able to extricate a dog from a fight
or training round without arousing suspicion, but not always. After each fight, the agents had the
dogs inspected by Humane Society workers, who ensured the dogs’ injuries were treated.
Humane Society workers went so far as to take some of the dogs from the agents.

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Defendant Kizeart was allegedly involved. The undercover operation lasted for approximately 18

months, culminating in the arrest and prosecution of almost 100 individuals- some as misdemeanors,

others as felonies.

               Kizeart contends that there were other methods of investigating and infiltrating the

dog fighting world. From Kizeart’s perspective, the Government’s conduct, in terms of time,

involvement and consequences, was worse than his own limited involvement. Kizeart envisions a

slippery slope, where permitting this sort of conduct leads to agents filming themselves raping a

child, putting it on the internet, and then arresting internet spectators, while the agents go

unpunished (see Doc. 145, p. 5).

               In U.S. v. Russell, 411 U.S. 423 (1973), the United States Supreme Court speculated,

“we may some day be presented with a situation in which the conduct of law enforcement agents

is so outrageous that due process principles would absolutely bar the government from invoking

judicial processes to obtain a conviction....” Id. at 431-432 (citing Kinsella v. U.S. ex rel.

Singleton, 361 U.S. 234, 246 (1960), for the proposition that due process forbids the denial of

“‘fundamental fairness, shocking to the universal sense of justice.’” (quoting Betts v. Brady,

316 U.S. 455, 462 (1942)). That statement in Russell spawned the “outrageous Government

misconduct” defense now asserted by Defendant Kizeart. In Russell the Supreme Court recognized

that such a defense is based on “the reluctance of the judiciary to countenance ‘overzealous law

enforcement.’” Russell, 411 U.S. at 428 (internal citations omitted). However, the Supreme Court

explained that any analogy to recognized exclusionary rules stem from the Government’s conduct

violating the independent rights of the defendant (e.g. Mapp v. Ohio, 367 U.S. 643 (1961) (re search

and seizure); and Miranda v. Arizona, 384 U.S. 436 (1966) (re confessions)). Russell, 411 U.S. at


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430.

                The Court of Appeals for the Seventh Circuit has bluntly stated, “the doctrine does

not exist in this circuit. The gravity of the prosecutors’ misconduct is relevant only insofar as it may

shed light on the materiality of the infringement of the defendants’ rights....” U.S. v. Boyd, 55 F.3d

239, 241 (7th Cir. 1995). The appellate court explained, “the Supreme Court has told us that we are

not to reverse convictions in order to punish prosecutors. United States v. Hasting, 461 U.S. 499,

506-07, 103 S.Ct. 1974, 1979-80, 76 L.Ed.2d 96 (1983). Prosecutorial misconduct may precipitate

a reversible error, but it is never in itself a reversible error. United States v. Van Engel, 15 F.3d 623,

631 (7th Cir.1993).” Id. “If the police engage in illegal activity in concert with a defendant beyond

the scope of their duties the remedy lies, not in freeing the equally culpable defendant, but in

prosecuting the police under the applicable provisions of state or federal law.” Hampton v. U.S.,

425 U.S. 484, 490 (1976) (citations omitted).

                Defendant Kizeart cites cases from every circuit–except the Seventh and D.C.

Circuits– recognizing the “outrageous Government misconduct” doctrine. However, Kizeart

neglects to mention that in none of the cited cases was the indictment dismissed due to outrageous

Government misconduct.

                Defendant Kizeart does not claim any sort of improper inducement, entrapment or

violation of his rights. Rather, Kizeart contends that it would be unfair to punish him when the

Government agents’ conduct training, promoting and participating in dog fights– and the related

loss of dogs– is far worse behavior. It was not disputed that Kiezeart’s involvement was relatively

minimal. At most, Kizeart fought a dog with coaching from the dog’s owner, while all others in the

indictment maintained kennels of fighting dogs.


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               If the Court would characterize the Government’s actions in this situation as

“outrageous Government misconduct,” under both Seventh Circuit precedents and Hampton v. U.S.,

425 U.S. 484, 490 (1976), dismissal of the complaint is inappropriate; rather, legal action should be

pursued against the offending Government agent(s). There may be some theoretical circumstance

where there was outrageous Government misconduct and no other apparent legal or ethical remedy,

which would then warrant the dismissal of an indictment. However, that circumstances has yet to

appear, even in circumstances endangering human life. In U.S. v. Barbosa, 271 F3d 438 (3rd Cir.

2001), cited in Kizeart’s motion, the Government used a “swallower” in a drug trafficking sting,

obviously placing the swallower’s life in danger– the indictment was not dismissed. Similarly, in

U.S. v. Sherman, 268 F.3d 539 (7th Cir. 2001), the Seventh Circuit, although outraged by the

Government possessing and disseminating child pornography on the internet, refused to recognize

the defense of outrageous Government misconduct. Id. at 548-549. Law enforcement agents are

under no obligation to stop an investigation the minute they have sufficient evidence to establish

probable cause. Hoffa v. U.S., 385 U.S. 293, 310 (1966).

               IT IS THEREFORE ORDERED that Defendant Judious Kizeart’s motion to

dismiss the indictment based on the “outrageous government misconduct” doctrine (Doc. 145) is

DENIED.

               IT IS SO ORDERED.

               DATED: April 4, 2011
                                                      s/ Michael J. Reagan
                                                      MICHAEL J. REAGAN
                                                      UNITED STATES DISTRICT JUDGE




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